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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JAMES LIVINGSTON,                        )
                                         )
      Plaintiff,                         )
                                         )   CIVIL ACTION FILE NO.:
v.                                       )
                                         )
Terminus Trading & Provisions, Inc.      )
D/B/A Revere Meat Co.,                   )   JURY TRIAL DEMANDED
                                         )
                                         )
      Defendant.                         )

                                   COMPLAINT

      Plaintiff, James Livingston (“Plaintiff” or “Mr. Livingston”) submits the

following Complaint against Defendant Terminus Trading & Provisions, Inc.

D/B/A Revere Meat Co. (“Defendant”):

                                 INTRODUCTION


      1.     This is an employment case arising from Defendant’s discrimination

against Plaintiff because of his age.

      2.     Plaintiff asserts discrimination claims under the Age Discrimination in

Employment Act, 29 U.S.C. § 623 et. Seq. (“ADEA”). He seeks lost compensation

and economic benefits of employment, reinstatement to his original position or



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front pay in lieu thereof, liquidated damages, and his reasonable attorney’s fees

and costs.

                         JURISDICTION AND VENUE

      3.     Plaintiff’s claims present federal questions over which this Court has

jurisdiction pursuant to 28 U.S.C. § 1331 and § 1343(a), and 29 U.S.C. § 626(c)(1).

      4.     The violations of Plaintiff’s rights occurred in the Northern District of

Georgia. Venue is proper under 28 U.S.C. § 1391(b) and (c), as every act of which

Plaintiff complains occurred in the Atlanta Division of the United States District

Court for the Northern District of Georgia.

                                     PARTIES

      5.     Plaintiff is a resident of the State of Georgia, and at all relevant times

he was employed by Defendant.

      6.     Plaintiff is 58 years of age and at all relevant times to this Complaint

was over 40 years of age.

      7.     Plaintiff was at all relevant times an “employee” as defined by the

ADEA, 29 U.S.C. § 630(f).

      8.     Defendant Terminus Trading & Provisions, Inc. D/B/A Revere Meat

Co. is a Georgia corporation with its principal office located at 132 Royal Dr,

Forest Park, GA, 30297. Defendant is subject to the jurisdiction of this Court and


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may be served with process by personal service upon its registered agent, Chad

Stine, at 132 Royal Dr, Forest Park, GA, 30297.

        9.    Defendant is an “employer” within the meaning of the ADEA, 29

U.S.C. § 630(b).

                     ADMINISTRATIVE PROCEEDINGS


        10.   Plaintiff timely filed a charge of discrimination against Southern

Company with the United States Equal Employment Opportunity Commission

(“EEOC”).

        11.   Plaintiff received a Notice of Right to Sue from the EEOC and has

complied with all conditions precedent to the assertion of his claims under the

ADEA in this lawsuit.

                                     FACTS

        12.   Mr. Livingston has worked as a commercial truck driver since 2012.

        13.   Mr. Livingston began working for Defendant in or around November

2019.

        14.   When Mr. Livingston was initially interviewed in November 2019, he

was hired by a supervisor named Earl Kollok, a man in his 60s.




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      15.    But by the time Mr. Livingston actually started working, Mr. Kollok

had left Defendant and had been replaced by Tommy Curry, who, on information

and belief is in his 30s.

      16.    Mr. Livingston never once received a write-up or any indication that

his performance was lacking and in fact had been told he was doing a great job.

      17.    A week before Mr. Livingston was terminated, he overheard Mr.

Curry say to another driver, a man named Paul in his mid-30s, that “We need more

young people here. We gotta get the older folks off the route.”

      18.    On December 23, 2019, Defendant fired Mr. Livingston for alleged

“performance reasons” despite the fact that he had never received a negative

performance evaluation and was never told that he needed to improve any aspect of

his performance.

      19.    The only communication Mr. Livingston received from Defendant

concerning his termination was a text message from his supervisor, Mr. Curry,

stating, "Sorry to tell you.. gotta let u go call joe Hr any questions based on

performance."

      20.    When Mr. Livingston attempted to follow up with Mr. Curry and Mr.

Boney (co-owner), he did not receive a response.




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      21.    After Mr. Livingston was fired, he learned that he had immediately

been replaced by a much younger driver, a man in his 20s or 30s.

      22.    Defendant also fired another truck driver, a man in his 60s named

Freddy Walker, around the same time it fired Mr. Livingston.

      23.    Like Mr. Livingston, Mr. Walker was also replaced by a much

younger driver, a man in his 20s.

      24.    Both Mr. Livingston and Mr. Walker received text messages from

Curry, citing unexplained “performance issues” as the reasons they were fired.

                                      COUNT I

          AGE DISCRIMINATION IN VIOLATION OF THE ADEA


      25.    Plaintiff incorporates by reference all preceding paragraphs of the

Complaint as if set forth fully herein.

      26.    Plaintiff is a member of the protected age group in that he is over the

age of forty (40).

      27.    At the time of his termination, Plaintiff was more than qualified for

the position he held, having worked as a truck driver for seven years.

      28.    Defendant discriminated against Plaintiff by subjecting Plaintiff to

adverse employment actions including, but not limited to, making ageist



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comments, falsely claiming his performance was deficient, and terminating him

because of his age.

      29.    Upon his termination, Plaintiff was replaced by, or his job duties were

transitioned to a substantially younger individual.

      30.    In taking adverse employment actions against Plaintiff, Defendant

unlawfully discriminated against Plaintiff on the basis of his age in violation of the

ADEA.

      31.    Defendant knowingly, intentionally and in bad faith discriminated

against Plaintiff because of his age, entitling Plaintiff to liquidated damages under

the ADEA.

      32.    As a result of Defendant’s discriminatory conduct, Plaintiff has

suffered lost compensation and economic benefits of employment, emotional

distress, inconvenience, humiliation, and other indignities.

      33.    Pursuant to the ADEA, Plaintiff is entitled to damages including lost

compensation and benefits of employment, reinstatement to his original position

with Defendant, liquidated damages, his reasonable attorney’s fees and costs of

litigation, and all other relief recoverable under the ADEA and statutes providing

for relief under the ADEA.




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                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands a TRIAL BY JURY and that the

following relief be granted:

       A.     That the Court take jurisdiction of this matter;

       B.     That process be served;

       C.     That the Court award lost compensation and economic benefits of

employment in an amount to be determined by the trier of fact;

       D.     That the Court award liquidated damages to Plaintiff;

       E.     That the Court enter an order reinstating Plaintiff to his original position

with Defendant or front pay in lieu thereof;

       F.     That the Court award Plaintiff his costs of litigation in this action and

his reasonable attorney’s fees;

       G.     That the Court grant to Plaintiff the right to have a trial by jury on all

issues triable to a jury; and

       H.     That the Court grant such additional relief as the Court deems proper

and just.

       Respectfully submitted this 19th day of November, 2021.

                                                 BUCKLEY BEAL, LLP

                                                 /s/ Thomas J. Mew
                                                 Thomas J. Mew

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